Case 2:15-cr-00662-ODW Document 6 Filed 12/01/15 Page 1lof2 Page ID #:118

   
 

4 UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

FILED

CASE SUMMARY

 

 

Case Number C |

U.S.A. v. .PABLO HERNANDEZ
~ [J indictment = J Information

  

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "N/A."

OFFENSE/VENUE

a. Offense charged asa:

[_] Class A Misdemeanor ["] Minor Offense [_] Petty Offense
[_] Class B Misdemeanor’ [_] Class C Misdemeanor [¥] Felony
b. Date of Offense multiple

c, County tn which first offense occurred

Los Angeles
d. The crimes charged are alleged to have been committed in:

CHECK ALL THAT APPLY

Los Angeles
Orange

[_] Ventura
[_] Santa Barbara
[_] Riverside [_] San Luis Obispo
[_] San Bernardino [_] Other
Citation of Offense 18 U.S.C. Sec. 1962(d), 1956(h), (a}(1)(B),
(a)(3)(B), (a)(3)(C), 2(a), (6); 18 U.S.C. 1512; 31 U.S.C. 5324(a)(2)

5

RELATED CASE
Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously

No [] Yes

filed and dismissed before trial?

IF YES Case Number

 

Pursuant to General Order 14-03, criminal cases may be related

if a previously filed indictment or information and the present

case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE U.S. v. Jian Sheng Tan, et al., CR 14-702; U.S. v. Tsung
Wen Hung, et al, CR 15-103

CR-72 (06/14)

“Investigative agency (FBI, DEA, etc.) FBUIRSRK
pe

~ Case Number

CASE SUMMARY

Defendant Number 5
Year of Birth 1940

 
  

PREVIOUSLY FILED COMPLAINT? ¥ —mv--eerr rm mn

A complaint was previously filed on: N/A

Case Number

 

Charging

 

 

The complaint: [_] is still pending

[_] was dismissed on:

 

PREVIOUS COUNSEL
Was defendant previously represented? [_] No

[-] Yes

IF YES, provide, Name:

 

Phone Number:

 

COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?

Yes* [-] No
Will more than 12 days be required to present government's
evidence in the case-in-chief?

Yes* [-].No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
UME TEE INDICTMENT IS FILED IF EITHER "YES" BOX 1S

Superseding Indictment/Information

1S THIS A NEW DEFENDANT? [] Yes
Thisisthe _ superseding charge, ie. Ist, 2nd.

The superseding case was previously filed on:

[-] No

 

 

The superseded case:

[_] is still pending before Judge/Magistrate Judge

 

L] was previously dismissed on
Are there 8 or more defendants in the superseding case?
[_] Yes* [-] No
Will more than 12 days be required to present government's
evidence in the case-in-chief?
[_] No

[_] Yes*

 

Page 1 of 2

 
Case 2:15-cr-00662-ODW Documenté6 Filed 12/01/15 Page 2of2 Page ID #:119

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

Was a Notice of Complex Case filed on the Indictment or
Information?

[_] Yes [_] No
~*AN ORIGINAL AND T COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX 1S CHECKED.
Is an interpreter required? [| YES NO

IF YES, list language and/or dialect:

 

OTHER
Male [_] Female
[] U.S, Citizen Alien

Alias Name(s) N/A

 

This defendant is charged in: [] All counts

Only counts; 1, 20
[] This defendant is designated as “High Risk" per
18 USC § 3146 (a)(2) by the U.S, Attorney.

[] This defendant is designated as "Special Case" per

18 USC § 3166 (b){7).
Is defendant a juvenile? []Yes No
IF YES, should matter be sealed? [_] Yes [] No

The area of substantive law that will be involved in this case
includes:

[_| financial institution fraud [_] public corruption
[_] tax offenses

[_] mail/wire fraud

[_] immigration offenses

[_] government fraud
[| environmental issues
[_] narcotics offenses

[_] violent crimes/firearms [_] corporate fraud

Other money laundering

 

CUSTODY STATUS

Defendant is not in custody:

"a. Date and time of arrest on complaint: —

b. Posted bond at complaint level on:

in the amount of $

 

c. PSA supervision? [] Yes |] No

d. Is on bail or release from another district:

 

Defendant is in custody:

a, Place of incarceration: [_] State [| Federal

b. Name of Institution:

 

c. If Federal: U.S, Marshal's Registration Number:

 

d. [] Solely on this charge, Date and time of arrest:

 

e. On another conviction: [-] Yes [-] No
IFYES:  [_] State [-] Federal [_] Writ of Issue
f, Awaiting trial on other charges: : [_] Yes [-] No
IFYES: [7] State [_] Federal AND

Name of Court:

 

Date transferred to federal custody:
This person/proceeding is transferred from another district

pursuant to F.R.Cr.P. 20 21 40

 

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

 

 

 

 

Date __11/30/2015___ Sgture of A Assistant US. Atto ey Af |
Karen |. Meyer /
Print Name U v

 

CR-72 (06/14)

CASE SUMMARY Page 2 of 2

 
